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up a Russian company, Novy Mir or New World Capital, which took
out a “loan” of $5,000,000 from Central Illinois Bank and used the
funds to invest in GKO’s. This “loan” was 100% secured by a
certificate of deposit purchased by the Farallon entities at the
Central Illinois Bank and guaranteed by the Farallon entities.
The profits on the GKO trades were sent to the Central Illinois
Bank as loan repayments and then paid to the Farallon entities.
These transactions were entered into by Central Illinois Bank at
the request of Nancy Zimmerman’s father, a shareholder and member
of the Board of Directors of the Central Illinois Bank’s holding
company.

75. The General Director of Novy Mir was a full-time
employee of Harvard’s Russian affiliate, ILBE, paid with USAID
Cooperative Agreement funds. This General Director, Hay, and at
least one other USAID funded staff person all assisted in the
scheme.

76. Hay and his father invested in and profited from these
GKO sales. On or about June 17, 1996, Hay’s father purchased
$150,000 worth of GKO’s from Zimmerman’s company using $50,000 of
Jonathan Hay’s funds. On or about August 30, 1996, Hay’s father
sold the GKO’s and Zimmerman’s company paid him by wire $160,800.
On or about September 10, 1996, Hay’s father transferred to
Jonathan Hay $53,359, including $3,359 in profit on this six week

investment.

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77. As an advisor to the Russian Deputy Prime Minister for
Economic Affairs on stabilization policy (including government
debt policy) and as a participant in negotiations concerning
financing of the Russian government debt, Shleifer had valuable
confidential information concerning the Russian bond market.
Accordingly, he was in a position where he would have been likely
to have had advance notice if the government were suddenly going
to stop backing its debt. This allowed Shleifer, Zimmerman, Hay
and Hay’s father to avoid the significant potential risk in this
market which (along with the exclusion of foreigners) resulted in
the high returns from which they all profited.

78. Shleifer's own writings explain the significant economic
value of such information. Ina 1997 article written with Daniel
Triesman, Shleifer stated:

For most of 1994-96, rates of return on GKOs were far above

the inflation rate, rising at one point to more than 150 per

cent a year in real terms. ... But since the risk could be
fully or partly eliminated by advance information of changes

in government policy, this information in effect served as a

barrier to protect rents in the market for those dealers

sufficiently close to the financial authorities to be sure
they would be informed.

79. By virtue of their positions as advisors to Russian
officials, and their participation in the crafting of Russian
stabilization and debt policy, Shleifer and Hay were sufficiently

close to Russian financial authorities to expect that they would

be informed of changes in government debt policy.

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D. Other Harvard Staff Members Were Aware of Problems on
the Harvard Project, Including the Misuse of Funds and
Preferential Treatment to Pallada and FRSD, But Harvard
Failed to Act.

80. Harvard also mismanaged and failed to supervise properly
the Project, and failed to safeguard the USAID funds entrusted to
Harvard. Harvard was paid by USAID specifically to provide this
type of administrative oversight, but failed in its obligation to
do so properly. Instead, Harvard administrators were aware of
abuses and allowed them to continue. For example, the HIID
Assistant Director for Contract Administration was aware of and
repeatedly objected to the high salaries and perks given to
certain project staff members with USAID funds. She complained
that some of the payments were “double-dipping” and wrote to
Shleifer, “I can’t imagine that you will do anything about this,
but I believe that it is not right all around and does not show
good faith on anyone’s part.” On another occasion, this Contract
Administrator also warned that she would “rue the day” for Harvard
and HIID that these “salaries and add-ons” became known to USAID.
Among the persons whose salaries and benefits she objected to were
these involved in assisting Hay, Shleifer, Zimmerman, Hebert and
Zagachin with their various private businesses and investments.

81. Harvard financial administrators and/or staff were also
aware that numerous employees on the USAID funded payroll at
Harvard's subcontractor, ILBE, were hired for improper reasons,

unqualified and/or did not show up for work on a regular basis,

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other than to collect their pay or for the free lunches.
Nonetheless, Harvard continued to bill these staff to USAID.

82. Harvard staff members also were aware that in the summer
and/or fall of 1996, Zagachin and Hebert were permitted to use
USAID funded office space, phones, mailbox and faxes and

facilities for their private businesses, i.e., the establishment

of Pallada and the FRSD.

83. Harvard staff members also knew that in September 1996,
Hebert and Zagachin moved together into space funded by World Bank
loans and that this raised at least the appearance of favoritism.
For at least several months, the FRSD and Pallada were apparently
the only mutual fund and depository permitted to use World Bank
funded space at the first Collective Investment Center, space
intended to provide information about mutual funds generally. At
some point in the fall of 1996, Harvard staff members also learned
that Pallada was owned 1.96 percent by an entity affiliated with
ILBE known as ILBE Consulting.

84. In the fall of 1996 and the spring of 1997, several
Harvard staff members and/or consultants sought out Hay and/or
Shleifer and raised with them the potential conflict and
appearance of conflict arising from Hay’s relationship with
Hebert, and the favorable treatment that Pallada was receiving
from Hay. Although Hay purported to recuse himself from all

matters dealing directly with Pallada, to the knowledge of Harvard

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staff members, he did not do so. In fact, during the same time
period, Shleifer approved Hay’s assuming a position of greater
responsibility with respect to the capital markets and mutual fund
regulations work, and sought to fire at least one of the persons
who had raised the conflict issue.

85. Competitors of Pallada also raised with Harvard
personnel the issue of unfavorable treatment toward them and their
concerns that there was not a level playing field in the emerging
Russian mutual fund market due to Hay’s association with Hebert.
Harvard’s actions, instead of fulfilling their intended purpose of
fostering trust and openness in the nascent mutual fund market, in
fact involved exactly the type of favoritism and perceived and
actual barriers to entry and success that the United States was
spending hundreds of millions of dollars to dispel.

86. Key Harvard employees were marginalized and/or removed
after they objected to, or refused to participate in, the misuse
and/or diversion of USAID and other public funds. Numerous
Harvard employees were awaré of the fact that USAID funded
resources were being misused for the benefit of Hebert and
Zagachin and otherwise. Nonetheless, corrective action was not

taken by Harvard to address and rectify these issues.

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VI. LEGAL CLAIMS
COUNT I
(False Claims Act - False Claims - All Defendants)

87. This is a claim for treble damages and civil penalties
under the False Claims Act, 31 U.S.C. § 3729(a) (1), for Defendants
knowingly presenting, or causing to be presented, false and/or
fraudulent claims for payment or approval to the United States.

88. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 86.

89. By virtue of the acts described above and others,
Defendants knowingly submitted and/or caused to be submitted false
and/or fraudulent claims in the form of Harvard’s and other USAID
contractors’ invoices and/or cash reports to USAID. True and
accurate copies of Harvard’s cash reports or invoices to USAID are
attached as Exhibit E. Harvard’s cash reports such as those
attached as Exhibit E falsely stated that all disbursements listed
therein were made “for the purpose and conditions” of the
Cooperative Agreements. These statements were false because the
services provided were not in conformance with the purposes and
conditions of the Cooperative Agreements, including specifically
the prohibitions on investments in Russia.

90. These statements were also false and/or fraudulent
because they included specific impermissible charges which were

not for the purposes or conditions of the Cooperative Agreements,

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including, but not limited to, the compensation of at least one
USAID staff person to do research on the price of oil stocks and
at least five USAID funded persons to work on a private aluminum
company merger involving an aluminum company in which Shleifer and
Zimmerman held stock; Zagachin’s full-time salary, as well as her
travel, at the time she was working on launching a private
business with Elizabeth Hebert; the payment of time and travel
costs for a trip to investigate proposed real estate investments
by CPI and/or Hay; the costs of USAID funded office space and
equipment; and payment for the time of Hay and other USAID funded
staff and consultants who assisted Hebert, Zagachin and Zimmerman
in their various business operations in Russia.

91. These statements were also false and/or fraudulent
because Harvard, Hay and Shleifer had contractual and/or fiduciary
duties to the United States which required its Project Director,
Shleifer, and its General Director, Hay, to refrain from investing
in Russia and to disclose any financial interests in Russia. By
failing to disclose their personal and financial interests in the
matters which were within the scope of their duties on behalf of
USAID, Shleifer, Hay, and Harvard made false or fraudulent
misrepresentations to USAID.

92. Had Harvard disclosed these advisors’ personal financial
involvements in Russia, USAID would have insisted upon their

removal from the Project and refused to fund all subsequent

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amendments and contracts led by them, as it ultimately did in the
spring of 1997 when it learned of some of these advisors’
financial interests in Russia.

93. The United States paid Harvard’s and other contractors’
invoices based on Defendants’ false and/or fraudulent statements,
including migrepresentations and material omissions.

94. By reason of these payments, the diversion of USAID
funded resources to improper purposes, and the harm to the United
States’ program in Russia due to Defendants’ conduct, the United
States has been damaged.

COUNT IT
(False Claims Act - False Statements - All Defendants)

95. This is a claim for treble damages and civil penalties
under the False Claims Act, 31 U.S.C. § 3729(a) (2), as amended,
for Defendants knowingly making and/or causing to be made or used,
false and/or fraudulent statements or records to get false and/or
fraudulent claims paid or approved by the United States.

96. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 94.

97. Defendants made and/or caused to be made false and/or
fraudulent statements to USAID by failing to disclose to USAID
Material facts concerning their lack of financial
disinterestedness in the matters under their supervision, which

Harvard, Shleifer and Hay had contractual and/or fiduciary duties

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to disclose,

98. By virtue of the acts described above and others,
Defendants knowingly made or caused to be made false and/or
fraudulent statements or records to get false and/or fraudulent
claims paid or approved by the United States. These false and/or
fraudulent statements included the failure to disclose material
facts, specific false certifications such as those attached as
Exhibit E, as well as the false 1995 Conflict of Interest
Statement submitted by Harvard to USAID. As a result of these
false and/or fraudulent statements and misrepresentations, USAID
continued to pay Harvard and other contractors under Harvard’s
supervision. By reason of these payments, the diversion of USAID
funded resources to improper purposes, and the harm to the United
States’ program in Russia due to Defendants’ conduct, the United
States has been damaged.

COUNT IIT
(False Claims Act - Conspiracy - All Defendants)

99, This is a claim for treble damages and civil penalties
under the False Claims Act, 31 U.S.C. § 3729(a) (3), against
Defendants for conspiring with others to defraud the United States
by getting false and/or fraudulent claims paid or allowed by the
United States.

100. The United States repeats and realleges each allegation

set forth above in paragraphs 1 through 98.

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101. Defendants agreed to engage in the conduct described
above, including the use of the resources and services funded by
USAID for the personal and/or business benefit of the Defendants
instead of for the purposes provided for by the Cooperative
Agreements, and engaging in private businesses in violation of
Harvard’s, Shleifer’s, and Hay’s duties to the United States.

102. By virtue of the acts described above and others,
Defendants knowingly conspired to defraud the United States by
getting false and/or fraudulent claims paid by the United States,
including the invoices attached as Exhibit E.

103. The United States paid these claims because of
Defendants' fraudulent misrepresentations and omissions.

104. By reason of these payments, the diversion of USAID
funded resources to improper purposes, and the harm to the United
States’ program in Russia due to Defendants’ conduct, the United
States has been damaged.

COUNT IV
(Common Law Fraud - Harvard, Shleifer, Hay)

105. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 104.

106. Defendants made and/or caused to be made fraudulent
representations to the United States, including the invoices
attached as Exhibit E.

107. Defendants made and/or caused fraudulent material

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representations to the United States, including the failure to
disclose facts when they had a duty to so disclose, with actual
knowledge of their fraudulent nature and/or with reckless
disregard for their truth.

108. Defendants intended that the United States rely upon
these material misrepresentations.

109. The United States did, in fact, reasonably rely upon
Defendants’ fraudulent representations, as a result of which
USAID funded resources were diverted to improper purposes and the
United States has sustained damages.

COUNT V
(Breach of Fiduciary Duty - Harvard, Shleifer and Hay)

110. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 109.

111. Harvard, Shleifer and Hay owed fiduciary duties to USAID
based upon at least: (1) the terms of the Cooperative Agreements,
their positions in connection with those Cooperative Agreements,
and Harvard’s representations to USAID that its advisors would
provide impartial, unbiased advice without any financial interests
therein; and (2) the reliance of USAID on Harvard's, Shleifer's
and Hay’s expertise and superior knowledge in the areas in which
they were providing advice and oversight pursuant to the
Cooperative Agreements,

112. Harvard, Shleifer and Hay had undisclosed conflicts of

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interest and failed to act in the best interests of the United
States in the exercise of these fiduciary duties.

113. By virtue of the provisions of the Cooperative
Agreements, and the trust and responsibility reposed in Harvard by
the United States, Harvard, Shleifer and Hay were responsible for
the faithful accounting and safekeeping of Project assets and the
proper fulfillment of the Project’s purposes in compliance with
USAID's terms and conditions.

114. Unknown to the United States and without its consent,
Harvard, Shleifer and Hay breached their fiduciary duties,
diverted USAID funded resources to improper purposes and abused
the trust and responsibility placed in them.

115. As a result of Harvard’s, Shleifer’s and Hay’s breaches
of their fiduciary duties, and the diversion of USAID funded
resources to improper purposes, the United States has been harmed.

COUNT VI
(Breach of Contract -Harvard)

116. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 115.

117. By reason of the actions described above, Harvard
breached its Cooperative Agreements with the United States by not
providing the services for which Harvard billed and by billing in
violation of the Cooperative Agreements’ terms and conditions,

including specifically the term requiring that employees of the

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grantee not engage in any business, investment or loan in the
country to which the individual is assigned.

118. By reason of the breach of contract described herein,
and the resulting diversion of USAID funded resources to improper
purposes, the United States has been damaged.

COUNT VIL
(Payment by Mistake - Harvard)

119. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 118.

120. Defendants caused the United States to make payments
based upon the United States’ mistaken belief that all the
Cooperative Agreements’ requirements and specifications for work
performed had been met and that amounts billed were for work
performed for the purposes of the Project. In such a
circumstance, payment by the United States to Harvard was by
mistake and was not authorized.

121. As a result of that mistaken payment, and the resulting
diversion of USAID funded resources to improper purposes, the
United States has sustained damages.

COUNT VIII
(Fraudulent Inducement - Harvard, Shleifer and Hay)

122. The United States repeats and realleges each allegation

set forth above in paragraphs 1 through 121.

123. Harvard, Shleifer, and Hay caused the United States to

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enter into amendments to the first Cooperative Agreement and to
enter into the second Cooperative Agreement based upon the
fraudulent representation that the Cooperative Agreements’
requirements and specifications for work performed were being met,
and that amounts billed were for work performed for the purposes
of the Project. In such a circumstance, the Agreements and
amendments thereto were induced by fraud and are void and/or
voidable.

124. As a result of this fraudulent inducement, USAID funded
resources were diverted to improper purposes, and the United
States has sustained damages and is entitled to the return of all
funds paid pursuant to fraudulently induced amendments to the
first Cooperative Agreement and pursuant to the second Cooperative
Agreement.

COUNT IX
(Unjust Enrichment and Disgorgement - All Defendants)

125. This is a claim for recovery of monies which Defendants
have diverted, received improperly, and/or by which Defendants
have been unjustly enriched.

126. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 124.

127. The United States paid to Harvard amounts in excess of
that to which it was entitled, and/or for services and/or property

which were not properly billable under the terms of the

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Cooperative Agreements, based on Defendants’ false and fraudulent
statements, misrepresentations and omissions, and breaches of
fiduciary duties, by which Defendants have been unjustly enriched.
In addition, Defendants obtained assets, businesses and profits
from their improper and illegal use of USAID and other public
resources by which they have been unjustly enriched.

128. The United States is entitled to the return of monies
diverted and paid improperly, and the disgorgement of any profits
or items of value obtained by Defendants in connection therewith,
along with interest from the time obtained.

COUNT X
(Aiding and Abetting)
(Shleifer, Hay, Zimmerman, Hebert)

129. The United States repeats and realleges each allegation
set forth above in paragraphs 1 through 128.

130. Defendants aided and abetted in the wrongdoing described
above, including the diversion of USAID resources to improper
purposes and breach of fiduciary duties, which duties Defendants
knew Harvard, Shleifer and Hay owed to the United States, by
assisting them in using their USAID funded positions, resources
and influence for the private benefit of the Defendants.

131. Defendants Hebert, Zimmerman and Shleifer aided and
abetted Hay in diverting USAID funded resources and breaching his

and Harvard’s fiduciary duties to the United States by investing

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his own money in various private business ventures and well as in
directing USAID resources under his direction to their private
benefit. These resources included the time of USAID and World
Bank funded staff and office space.

132. Defendants Zimmerman and Hay also aided and abetted
Shleifer in diverting USAID funded resources and in breaching his
and Harvard's fiduciary duties by investing in various Russian
equities and concealing those investments from USAID, while
working under Cooperative Agreements which did not permit such
conflicts and pursuant to which Shleifer provided advice related
to and potentially affecting the entities in which he had
invested.

133. Defendant Shleifer also aided and abetted Hay in
breaching his and Harvard's fiduciary duty to the United States by
investing Hay’s funds in Russia oil stocks at a time when Hay was
employed under a USAID funded Cooperative Agreement which
prohibited such investments and required Shleifer to report any
such violations to USAID.

134, Defendants benefitted from their participation in
Shleifer’s, Hay’s and Harvard’s misconduct by receiving
preferential treatment, inside information and profits for their
and/or their family members’ businesses.

135. As a result of this conduct, and the diversion of USAID

funded resources, the United States was harmed, including by

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paying Harvard, and through Harvard, Shleifer and Hay, funds to
which they were not entitled.
COUNT XI
(Civil Conspiracy - All Defendants)

136. The United States repeats and realleges each allegation
set forth in paragraphs 1 through 135 above.

137. By reason of the actions described above, Defendants did
combine and agree to commit unlawful acts, including the diversion
of USAID funded resources and the breach of fiduciary duties
described above, by which the United States has been harmed.

138. As set forth above, Defendants took specific actions in
furtherance of that conspiracy, including the use of USAID funded
resources and the transfer of funds to create financial interests
for Shleifer and Hay and their family members and associates in
matters which were within the scope of duties of Shleifer, Hay and
Harvard, and in breach of the fiduciary duties owed by Harvard,
Shleifer and Hay to the United States.

PRAYER FOR RELIEF

WHEREFORE, the United States demands judgment against the
Defendants as follows:

A. On Counts One through Three, judgment against Defendants
named therein, jointly and severally, for triple the damages
sustained by the United States, plus civil penalties as are

allowable by law in the amount of $5,000 to $10,000 per claim,

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costs, and all other proper relief;

B. On Counts Four through Eleven, judgment against the
Defendants named therein, jointly and severally, for the damages
sustained, all profits earned by virtue of their wrongdoing,
punitive damages where permitted by law in an amount sufficient to
punish and deter, pre-judgment interest, costs, an accounting of
all funds paid and/or received by the Project, and all other
proper relief;

Cc. On Count Five and Counts Seven through Eleven, an
accounting of, and a constructive trust over, all funds improperly
paid and all profits and items of value improperly obtained by
Defendants;

D. And such further relief, on all Counts, as the Court may
deem appropriate.

THE UNITED STATES DEMANDS A JURY TRIAL AS TO ALL ISSUES 50
TRIABLE.

UNITED STATES OF AMERICA
By its attorneys,

DONALD K. STERN
United States Attorney

By: / ,
hen MZ sy

SARA M. BLOOM

Assistant U.S. Attorney

Suite 9200, One Courthouse Way
Boston, MA 02210

(617) 748-3265

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JUDITH RABINOWITZ

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Ben Franklin Station
Washington, D.C. 20044
202-616-9854

September 26, 2000

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JUL -28-1994 15:23 FROM SHLEIFER AT HARVARD TO 914154212133 P.We2

From: Andrei Shleifer
To: David Cohen, Igor Tsukanov
Re: our agreement

1. Farallon will buy shares in Russian oil and other companies on the advice of Igor. Igor will
provide Farallon with information on what is available in Moscow and elsewhere in Russia and at

what prices. The shares will be owned by Farallon.

2. The initial investment is anticipated to be $2 million, with increase to $5 million if sufficient
investment opportunities are available. Shleifer will invest 10 percent as his own capital, with
shares to be owned by Nancy Zimmerman.

3. The portfolio will be evaluated after 1 year (i.¢, on August 1, 1995), at which point Igor will
be compensated. Igor has the right to force the sale of the portfolio or be compensated earlier
based ‘on the return as soon as the portfolio rises in value by more than 100 percent. Igor also has
the right to be consulted before any sale of shares, and has the right of first refusal on any shares

sold against his recommendation.

4. Igor will provide basic information on a group of companies that Farallon will invest in.
$5. Farallon will maintain a track record for Igor.

6, Igor (or CentreInvest) will be compensated as follows:

As of the time of settling up (which is ] year or before), the full return up to annualized rate of 25
percent goes to Farallon (hurdle). After the hurdle, we are looking at total returns, rather than
annualized returns. Of the incremental return up to 50 percent total retum, Igor gets 15% of the
return, between 50 and 75, Igor gets 20% of the return, between 75 and 100, Igor gets 25% of
the retum, between 100 and 150, Igor gets 30% of the return, and above 150, Igor gets 35% of
the return. Andrei gets 10% of the return above the hurdle,

7. Farallon has-te-agree+to every purchase and sale of shares, Farallon will either sign documents
for purchase and sale of shares and transmit them by FAX or give the right of the attorney to a
designated person. Farallon will pay a designated international account as soon as it gets a
transfer receipt and a tax document. Altematively, Igor can buy shares and sell them at the same
Price to Farallon.

8. Igor will not do any other Russian oil company investing (excepd personal purchases) until

Farallon is fully invested.

TOTAL P.@2

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914154212133 P.@2

JUL-29-1994 18:28 FROM SHLEIFER AT HARVARD TO

From: Andrei Shleifer

To: David Cohen, Igor Tsukanov
Re: our agreement

Date: July 28, 1994

1, Farallon will buy shares in Russian oi] and other companies on the advice of Igor. Igor will
provide Farallon with information on what is available in Moscow and elsewhere in Russia and at

what prices. The shares will be owned by Farallon.

2. The initial investment is anticipated to be $2 million, with increase to $5 million if sufficient
investment opportunities are available. Andrei will invest 10 percent as his own capital, with
shares to be registered to Nancy Zimmerman.

3. The portfolio will be evaluated after 1 year (i.e, on August 1, 1995), at which point Igor will
be cbrhpensated, Igor has the right to force the sale of the portfolio or be compensated earlier
based on the return as soon as the portfolio rises in value by more than 100 percent. Igor also has
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As of the time of settling up (which is 1 year or before), the full return up to annualized rate of 25
percent goes to Farallon (hurdle). After the hurdle, we are looking at total returns, rather than
annualized retums. Of Farallon's incremental return up to 50 percent total return, Igor gets 15%
of the return, between 50 and 75, Igor gets 20% of the retum, between 75 and 100, Igor gets
25% of the return, between 100 and 150, Igor gets 30% of the return, and above 150, Igor gets
35% of the retum. Andrei gets 10% of the return above the hurdle.

7. Farallon has to agree to every purchase and sale of shares. Farallon will either sign.documents
for purchase and sale of shares and transmit them by FAX or give the right of the attomey to a
designated person. Farallon will pay a designated international account as soon as it gets a
transfer receipt and a tax document. Alternatively, Igor can buy shares and sell them at the same
price to Farallon.

8. Igor will not do any other Russian oi] company investing (except personal purchases) until
Farallon is fully invested. However, if Farallon refuses to buy a block of shares offered to Igor,
Igor can sell it to other parties at a price that is not lower. Farallon will not buy shares in Russian
companies except through Igor (the exception is that Farallon can buy a small amount of shares

though brokers such as CSFB or Salomon to get access to their information bases), oo
. s ". , &
9. Farallon will provide an offtcial letter. ofagreement confirming these paints by Monday, Aug. C e-
Ynnmw ah Ayer. Yo“ “——
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May 16, 1996 Pogl Iomeeliconce
(c D JS To: Tom Steyer. :
Se Re: Specialized Depository i Lictirnol

- Rw Eh 1.0 Introduction. As you know, we are seeking USD 1.2 nillion to create a fund OL
ee management company and a fund administrator/custodian (“Specialized Depository") in
Russia. | understand from Nancy tuat you wish to have some more information on the e071

why the Specialized Depository that we create is likely to be successful, c) our assumptions
about profitability, d) our competition, and e) the link with the proposed Fund Management

3 io Company.

— 2.0 _ Function of Specialized Depository. Under recently issued mutual fund regulations
{ pled» (which were drafted by the Russian legal team that I manage), fund management companies
——— must sign a contract with an independent Specialized Depository. Under the regulations, the
a Specialized Depository provides custodial services and is responsible for the compliance of
fund management companies with certain parts of the regulations (¢.g. restrictions on the

specialized depository. This note explains a) the function of a specialized depositary, b)
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investment portfolio). In practice, the Specialized Depository will also be responsible for
elegy es a) maintaining ‘a registry of unit holders (including issuing and:cancelling units), b) the
De pt. accounting for fund assets and transactions, and c) pricing of assets (on a daily basis in the
case of open mutual funds). The Annex to this note describes in more detail the function of

the Specialized Depository.

(1, Nonefhac .3.0\ Why we expect our Specialized Depository to succeed? The teasons have to do with
We _ 4) regulation, b) management, c) first mover advantage, d) assured client base, e) presence
2 9/. Assets ofa trategic partner and e) the availability of subsidy. These reasons are discussed below.
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3 a GEM 3.1 | Regulation. Both investment fund managers and specialized depositories must be
Heensed. The regulatory requirements for getting a fund management license are relatively

400 K light. The regulation of fund managers is mostly delegated to the market, to the choices
of investors. The Federal Commission for Securities and the Capital Market (e.g. the

Yeo Russian SEC) recognizes that it should not be in the business of choosing fund managers for
. investors. On the other hand, the regulatory requirements for specialized depositories are

B46 (. severe. Before issuing any licenses to potential specialized depositories, the Federal

— Comunission will ensure the integrity of systems for processing flows of units and finance

between investots and the fund, b) the proper maintenance of the registrar of investors, c)
the adequacy of accounting for assets, and d) the safekeeping of assets. Regulations provide

a many mandatory procedural and processing requirements for specialized depositories. The .
zo ul [Of¢uarequirements will be made more detailed on the basis of the Federal Corunission's

~~ experience with: our Specialized Depository. Specialized Depdsitories will be audited

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frequently by the Federal Commission. The Federal Commission expects to issue few
licenses to specidlized depositories which means that a) the market for these services will
be divided between few organizations (in the short to medium teim we expect to capture
most of the market) and b) pricing is likely to be less than perfectly competitive.

Our project stands to benefit more than any other from tne Federal Commission's
approach to regulation. This is for three reasons. First, we have the best probability of
receiving a licerise. Our project is the flezship Specialized Depository of the Federal
Commission designed to set the standard for the market place and to be used to define the
operational and procedural thresholds that must be met by others to enter the business.
Every decision we make about design, systems and procedures will be taken in close
cooperation with the Federal Commission. Our project will be established with the active
involvement of the Russian legal team that the Federal Commission entrusted with the

- drafting of the original mutual fund regulations. Second, we are likely to get a license
before anyone else which will give a Significant first mover advantage (discussed below).
Third, our project will set the market standard. Given this project's relationship to the
Federal Commission, any other attempts by definition will be in a catch up mode.

3.2 Management. We have the best management team. The ability of management is
proven in Russia and has an exceptional reputation for honesty and competence which is
unique in the Russian market place. The president, Julia Zagachin, is one of a few
professionals who have successfully built large infrastructure: operations, eamed the
confidence of the Federal Commission, every major western institutional i investor active in
the Russian equity markets, the Russian brokerage and banking community. She is
completely bi-lingual and bi-cultural. The future head of operations, Nadezhda Masenkova
is currently Chief Operating Officer of the DCC. She developed’ procedures and controls
currently in use:by the DCC. The strategic partner (discussed below) brings a first rate
management team with similar western expertise that will be involved in the set up of the
Specialised Depository.

3.3. First mover advantage. The economics of the Specialised Depository business give
the advantage to the first group that gets established and attracts clients. In Russia, we are
that group. In the early phase while no one else is set up we can be profitable with lower
volumes of processing and high margins. As the business progresses, we can lower
marguis and maintain profitability with higher volumes of processirig. Any other competitor
that wishes to beat our prices must be able to immediately get the liigher volumes that make
it possible to live with the lower margins, The need for high volumes for: profitability should
be a significant Barrier to entry for new competitors. This is also the case in the West where
this business tenis to be concentrated with a very few providers such as State Street/DST in
the United States or Hexagon and Premier Trust in the United Kingdom. In the short to

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raedium term our advantage comes from the fact that the regulater wants us to be tirst. In
the future we can keep our dominant position through a quality service at low prices where
profitability is niaintained by the fact that we built up higher volumes in the carly years.

3.4 Assured client base. We have an assured client base for two reasons. First, we are
establishing the’ Specialised Depository simultaneously with the establishment of a fund
management company. The fund management company will be managed by Elizabeth
Hebert who has managed the best performing fund publically traded Russia fund for the last
two years. Her committment to use the Specialised Depository will be an important signal
to other potential clients. When Elizabeth chose to use the DCC as her custodian in Russia
(at that ime managed by Julia Zagachin), other market participants followed. We expect that
the similar pattern will occur with the Specialised Depository. Second, the Federal
Commission will direct potential fund managers to use the Specialised Depository that we
are establishing. This is natural since the Federal Commission has an interest in ensuring
that its flagship project sets the standard for the market place, and it has an interest in
ensuring that fund managers that are licensed use the Specialised Depository that best meets
regulatory standards.

3.5 Presence of strategic parmer. Forum Financial is the strategic partner. The company
is a Portland, Maine based fund administrator/distributor for commercial banks managing
funds in the US but restricted by banking regulations from distributing funds directly to the
public. Forum currently provides fund administration, transfer agency and valuation services
to clients with $14 billion under management. They also have a start-up operation in Poland.
Forum won a tender conducted by the World Bank and the Russian Commission to establish
the procedures and design the systems to be used by the model depository. Forum will
contribute technical know-how of operations and systems. They will also contribute senior .
Management expertise and systems specialists to shadow the local management team. The
presence of a strategic partner should ensure that we are protected from making mistakes in
the selection of systems and the development of procedures.

3.6 Subsidy from World Bank Funds. The Federal Commission has awarded Forum
Financial $2.5 million to develop systems and procedures for a model Specialised

and advise the Commission on regulatory issues. We also expect that the proposed
Specialized Depository will be hired by Forum Financial as a sub-contractor, and that, as a
result, the company will immediately generate revenue with Should fund some of the start
Up costs. As a result the investment is significantly reduced, as operations of this type tend
to require a high up front investment.

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4.0 Assumptions About Profitability. The key variables that determine profitability of
the Spscialized Depository are a) the fixed cost of establishing the Specialized Depository,
b) the marginal cost of processing a client account, c) the price that can be charged for
processing a client account, and d) the number of client accounts that the Specialized
Depository will:process. The assumptions that we have made are illustrated in the table

entitled “Administration Bureau."

While we believe that we have all the pieces in place to-make the Specialized
Depository successful, we never established such a business and do have some uncertainty
about the precision of the numbers reflected in the business plan. For example, while we
have the advantage that many of the fixed costs will be covered by the technical assistance
funds, we are uncertain about the fixed costs associated with the establishment of a custodial!
service. Like many other issues, the issue of whether or not it is necessary to establish a
custodial service (or whether for some assets we can or should use services provided by
others) is one that will have to be addressed with our strategic parmer in the implementation

of this project.

Due to such uncertainties, we have used very conservative figures in the business
plan. The business plan shows that the Specialized Depository will charge between $15 and
$12 per year per client account per year (i.e between 1% and 1.5% on an average investment
of $ 1000). We have been told that a comparative figure in the United States or the United
Kingdom is $30. The low price reflects i) our lack of knowledge about the number of
transactions per account per year, and ii) sensible caution about the ability to charge
monopoly prices. Even if we are the dominant player in the market, we think it is possible
that there would be pressure from regulators to keep prices down. Our foreign ownership
and management structure also makes us reluctant to assume that we can "charge through
the nose" for our services. Our assumptions about price and cost are illustrated below:

Year of 1996 1997 1998 1999 2000
operation

Price $12 $12 $12 $12 $12
charged for

processing a
single client
account

